                                                                                Case 3:18-cv-00360-WHA Document 190 Filed 05/24/19 Page 1 of 2



                                                                          1
                                                                          2
                                                                          3
                                                                          4
                                                                          5                               IN THE UNITED STATES DISTRICT COURT
                                                                          6
                                                                                                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                          8   UNILOC 2017 LLC, et al.,                                               No. C 18-00360 WHA
                                                                          9                                                                          No. C 18-00363 WHA
                                                                                                                                                     No. C 18-00365 WHA
                                                                         10                     Plaintiffs,                                          No. C 18-00572 WHA

                                                                         11     v.
United States District Court




                                                                                                                                                     ORDER DENYING
                                                                              APPLE INC.,                                                            MOTION TO RELATE
                               For the Northern District of California




                                                                         12
                                                                         13                     Defendant.
                                                                                                                                   /
                                                                         14
                                                                         15              The Court has reviewed defendant’s motion to relate cases Uniloc 2017 LLC v. Apple

                                                                         16   Inc., Case No. C 19-01905 JD, and Uniloc 2017 LLC v. Apple Inc., Case No. C 19-01949 JSW,

                                                                         17   and plaintiffs’ opposition thereto (Dkt. Nos. 185, 186).* The aforementioned actions were

                                                                         18   recently transferred to this district from the Western District of Texas and involve United States

                                                                         19   Patent Nos. 6,856,616 and 8,539,552, respectively (Dkt. No. 185 at 1–2).

                                                                         20              Under Civil Local Rule 3-12, actions are considered related where (1) they “concern

                                                                         21   substantially the same parties, property, transaction or event”; and (2) it “appears likely that

                                                                         22   there will be an unduly burdensome duplication of labor and expense or conflicting results if the

                                                                         23   cases are conducted before different Judges.” Defendant argues that the recently-transferred

                                                                         24   actions should be related to the above-captioned actions because they involve the same parties,

                                                                         25   patents with overlapping inventorship, and closely-related technologies (involving “computer-

                                                                         26   telephony technologies”) (id. at 1, 3).

                                                                         27              None of the patents-in-suit involved in the recently-transferred actions are the same as

                                                                         28   those involved in the above-captioned actions. Defendant nevertheless asserts that both sets of


                                                                                     *
                                                                                         The docket numbers referenced herein relate to Case No. C 18-00360 WHA.
                                                                                Case 3:18-cv-00360-WHA Document 190 Filed 05/24/19 Page 2 of 2



                                                                          1   actions (the above-captioned actions and the recently-transferred actions) involve “related
                                                                          2   computer-telephony technologies” (id. at 3). It argues that the technology covered by the ’616
                                                                          3   patent — asserted in Case No. C 19-01905 JD — is similar to that covered by United States
                                                                          4   Patent No. 6,446,127 (“the ’127 patent”) — asserted in one of the above-captioned actions,
                                                                          5   Case No. C 18-00572 WHA — in that they both “address[] a way of accessing telephone
                                                                          6   services through a communications network” (ibid.). Defendant notes that both patents share
                                                                          7   one inventor (among multiple) and that the ’127 patent’s specification incorporates by reference
                                                                          8   the application for the ’616 patent. It further asserts that the technology covered by the ’552
                                                                          9   patent — asserted in Case No. C 19-01949 JSW — is also similar to the ’127 patent because the
                                                                         10   ’552 patent “covers access to call services by the user of a telephone” (ibid.). Defendant thus
                                                                         11   claims that there will likely be “significant overlaps in evidence” regarding patent ownership,
United States District Court
                               For the Northern District of California




                                                                         12   licensing, prior art, accused products, and damages (Dkt. No. 185 at 3).
                                                                         13          The foregoing, however, fails to sufficiently show how this slight overlap in technology
                                                                         14   presents a risk of undue burden of duplicative labor or conflicting results under Civil Local
                                                                         15   Rule 3-12(a)(2) if the actions are not related. For example, defendant does not state any
                                                                         16   specific overlapping accused products that would be subject to duplicative discovery. Neither
                                                                         17   does defendant state any specific overlapping functionality involved in the technologies covered
                                                                         18   by the ’127, ’616, and ’552 patents; defendant only discusses the technologies in high
                                                                         19   generalities. Only the ’127 and ’616 patents share just one inventor out of multiple inventors
                                                                         20   listed on both patents. And, while the ’127, ’616, and ’552 patents might cover technologies
                                                                         21   generally related to “computer-telephony,” as defendant asserts, the patents themselves contain
                                                                         22   different specifications and claims. In light of this, defendant has not sufficiently explained
                                                                         23   how the risk of conflicting results exists. Accordingly, defendant’s administrative motion to
                                                                         24   relate is DENIED. See Uniloc USA, Inc. v. Logitech, Inc., No. C 18-01304 LHK, 2018 WL
                                                                         25   6340747, at *2 (N.D. Cal. Dec. 5, 2018).
                                                                         26
                                                                                     IT IS SO ORDERED.
                                                                         27
                                                                              Dated: May 24, 2019.
                                                                         28                                                             WILLIAM ALSUP
                                                                                                                                        UNITED STATES DISTRICT JUDGE

                                                                                                                               2
